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                       EXHIBIT C
                                                         Case 2:24-cv-06089-JMA-AYS                                                                                                                                                                                                                                  Document 13-3         Filed 09/20/24       Page 2 of 4 PageID #:
                                                                                                                                                                                                                                                                                                                             134



From:                                                                                                                                                                                                                                                                                                     Mario Gazzola
Sent:                                                                                                                                                                                                                                                                                                     Monday, September 16, 2024 11:16 PM
To:                                                                                                                                                                                                                                                                                                       David Forrest
Cc:                                                                                                                                                                                                                                                                                                       Michael Carlinsky; Laura Santos-Bishop; Pedro Souza; John Piskora
Subject:                                                                                                                                                                                                                                                                                                  RE: SDN Limited v. IOV Labs Limited, 24-cv-06089


Counsel:

We are concerned that your request for all relevant agreements suggests that you did not review them prior to filing
claims in breach of an obligation to arbitrate. As you know, we are under no obligation to provide you with documents
that your clients have apparently not shared with you.

Nevertheless, now that you are on notice of the arbitration agreement, we expect that, consistent with counsel’s
obligations under Rule 11, you will conduct a reasonable inquiry of your clients prior to filing a full complaint, including
evaluating under Rule 11(b)(1) that your clients’ claims in breach of the arbitration provision are “not being presented
for any improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation.”

We reserve all rights.

Best,
Mario

Mario O. Gazzola
212-849-7102 Direct
919-360-1686 Cell


From: David Forrest <dforrest@loeb.com>
Sent: Tuesday, September 3, 2024 10:00 AM
To: Mario Gazzola <mariogazzola@quinnemanuel.com>
Cc: Michael Carlinsky <michaelcarlinsky@quinnemanuel.com>; Laura Santos-Bishop
<laurasantosbishop@quinnemanuel.com>; Pedro Souza <pedrosouza@quinnemanuel.com>; John Piskora
<jpiskora@loeb.com>
Subject: RE: SDN Limited v. IOV Labs Limited, 24-cv-06089

                                                                                                                                                                                                                                                                                                               [EXTERNAL EMAIL from dforrest@loeb.com]

Mario, We are in receipt of y our August 2 9, 2024 letter. W hile we evaluate your req uest, plea se send us co pies o f any agreements betwee n your clients an d either Steven Nerayo ff or SD N Li mited. David David ForrestAttorney At Law34 5 Park Avenue | New York, NY 1015 4Direct Dial: 21 2.




Mario,

We are in receipt of your August 29, 2024 letter. While we evaluate your request, please send us copies of any
agreements between your clients and either Steven Nerayoff or SDN Limited.

David




                                                                                                                                                                                                                                                                                                                                   1
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                                                             135
David Forrest
Attorney At Law



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immediately notify the sender. Please destroy the original transmission and its attachments without reading or saving in any manner.
Thank you, Loeb & Loeb LLP.



From: Mario Gazzola <mariogazzola@quinnemanuel.com>
Sent: Thursday, August 29, 2024 6:40 PM
To: John Piskora <jpiskora@loeb.com>; David Forrest <dforrest@loeb.com>
Cc: Michael Carlinsky <michaelcarlinsky@quinnemanuel.com>; Laura Santos-Bishop
<laurasantosbishop@quinnemanuel.com>; Pedro Souza <pedrosouza@quinnemanuel.com>
Subject: RE: SDN Limited v. IOV Labs Limited, Index No. 607805/2024




Counsel:

Please see attached correspondence.

Mario O. Gazzola
212-849-7102 Direct
919-360-1686 Cell


From: Mario Gazzola
Sent: Thursday, August 22, 2024 3:40 PM
To: jpiskora@loeb.com; dforrest@loeb.com
Cc: Michael Carlinsky <michaelcarlinsky@quinnemanuel.com>; Laura Santos-Bishop
<laurasantosbishop@quinnemanuel.com>; Pedro Souza <pedrosouza@quinnemanuel.com>
Subject: SDN Limited v. IOV Labs Limited, Index No. 607805/2024


Counsel:

We have been retained by RSK Labs Limited in connection with the above-captioned action. We write to inform you that
Raul Laprida, whom you purportedly served in Tennessee on July 26, is not employed by RSK Labs Limited. Rather, he is
employed by a different entity. And contrary to your affirmation to the Court, Dkt. 6 ¶ 6, Mr. Laprida is not an officer or
director of RSK Labs Limited, or any other Rootstock entity.

Plaintiffs’ attempt to serve Mr. Laprida with process for an entity with which he is not affiliated was therefore
ineffective.

                                                                     2
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                                                                       136
Best,

Mario O. Gazzola
Associate
Quinn Emanuel Urquhart & Sullivan, LLP

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